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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                  Plaintiff,

vs.                                                                                 No. CR 15-1285 JB

ELIJAH SHIRLEY;
MAYNARD SHIRLEY and
MICHAEL SHIRLEY

                  Defendants.

                               MEMORANDUM OPINION AND ORDER

        THIS MATTER comes before the Court on Defendant Maynard Shirley’s oral motion for a

mistrial, made on the record at the hearing on October 18, 2016. See Draft Transcript of Hearing at

242:3-6 (held October 18, 2016)(Schmidt-Nowara)(“Tr.”).1 At the hearing, Defendant Maynard

Shirley argued that Perry BlueEyes’2 testimony “about [a] crazy brother who had just gotten out of

the prison . . . is exactly the type of [] prejudicial evidence that would . . . prevent[] a jury from

evaluating the evidence fairly and accurately so that the defendant has been deprived of a fair trial.”

Tr. at 242:6-12 (Schmidt-Nowara). The Court agrees with M. Shirley’s assessment. Accordingly,

for the following reasons, and for the reasons stated on the record at the hearing, the Court will

declare a mistrial in this case.

        “A district court has discretion to grant a mistrial only when a defendant’s right to a fair trial

has been violated.” United States v. Kamahele, 748 F.3d 984, 1017 (10th Cir. 2014)(citing United



        1
        The Court’s citations to the transcript of the hearing refer to the court reporter’s original,
unedited version. Any final transcript may contain slightly different page and/or line numbers.
        2
            BlueEyes is one of the victims in this case.
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States v. Gabaldon, 91 F.2d 91, 93-94 (10th Cir. 1996)). The United States Court of Appeals for the

Tenth Circuit has stated that “[w]hether a motion for mistrial should be granted is within the

discretion of the trial judge because he is in the best position to evaluate the effect of the offending

evidence on the jury.” United States v. Laymon, 621 F.2d 1051, 1053 (10th Cir. 1980). See United

States v. Kravchuck, 335 F.3d 1147, 1154 (10th Cir. 2003)(stating that a district court’s disposition

of a mistrial motion is reviewed for abuse of discretion). The Federal Rules of Criminal Procedure

offer limited guidance with respect to when a mistrial motion should be granted. See United States

v. Meridyth, 364 F.3d 1181, 1183 (10th Cir. 2004). The Tenth Circuit has provided, however, that

“motions for mistrial . . . call for an examination of the prejudicial impact of an error or errors when

viewed in the context of an entire case.” United States v. Gabaldon, 91 F.3d at 93-94 (internal

quotation marks and citations omitted). The Tenth Circuit’s decision in United States v. Sands, 899

F.2d 912 (10th Cir. 1990), is instructive. In United States v. Sands, the Tenth Circuit considered

whether the district court erred in denying the defendant’s motions for mistrial based on multiple

witnesses’ improper references the defendant’s prior incarceration. See 899 F.2d at 913-14. The

Tenth Circuit concluded that the district court erred in denying the defendant’s motions, because it

could not say “with reasonable certainty that the reference to prior records ‘had but a very slight

effect on the verdict of the jury.’” 899 F.2d at 916 (quoting Sumrall v. United States, 360 F.2d 311,

314 (10th Cir.1966)).

        Here, the Court cannot say with reasonable certainty that BlueEyes’ impermissible reference

to M. Shirley as the “crazy brother who had just gotten out of the prison,” Tr. at 242:6-12 (Schmidt-

Nowara), “‘had but a very slight effect on the verdict of the jury,’” United States v. Sands, 899 F.2d

at 916 (quoting Sumrall v. United States, 360 F.2d at 314). Accordingly, because of the potential




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“prejudicial impact,” United States v. Gabaldon, 91 F.3d at 93-94 (internal quotation marks and

citations omitted), of BlueEyes’ statement, the Court will declare a mistrial.

        IT IS ORDERED that Defendant Maynard Shirley’s oral motion for a mistrial, made on the

record at the hearing on October 18, 2016, see Draft Transcript of Hearing held on October 18, 2016,

at 242:3-6 (Schmidt-Nowara), is granted.




                                                           _______________________________
                                                           UNITED STATES DISTRICT JUDGE

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